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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                         )
             v.           )                      Case No. 1:23-CR-00016 (JEB)
                         )
FRANK ROCCO GIUSTINO,     )
                          )
           Defendant.     )

                               (PROPOSED) ORDER

         Upon consideration of the Defendant's Motion to Modify Release Conditions,

and for good cause shown, it is hereby

     ORDERED that the Motion is GRANTED and,

     ORDERED that ECF No. 8 now includes the Middle District of Florida in items

(7)(a) and (7)(t).

     ORDERED that the District Of Columbia Pretrial Services Agency will coordinate

transfer of courtesy supervision from the Eastern District of New York to the Middle

District of Florida where upon completion the Defendant will no longer report to New

York supervision.

     ORDERED that all other of the Defendant's Conditions of Release remain

unchanged, and where he was notified of his required appearance for sentencing on

September 29, 2023,


SO ORDERED on this ___ day of July, 2023.

                                         HONORABLE James E. Boasberg
                                         United States District Chief Judge
